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 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11   IN RE: CATHODE RAY TUBE (CRT)            Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
12   ____________________________________     MDL No. 1917
13                                            STIPULATION AND [PROPOSED] ORDER
     This Document Relates to:
                                              RE: REVISED CLASS NOTICE AND
14                                            LITIGATION SCHEDULE
     ALL DIRECT PURCHASER ACTIONS
15                                            Judge:     Honorable Jon S. Tigar
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      STIPULATION AND [PROPOSED] ORDER RE: REVISED CLASS NOTICE AND LITIGATION SCHEDULE;
                                   Master File No. 07-CV-5944-JST
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 1          Direct Purchaser Plaintiffs (“DPPs”) and Defendants Irico Group Corporation and Irico

 2   Display Devices Co., Ltd. (“Irico” or the “Irico Defendants,” collectively the “Parties”), by and

 3   through the undersigned counsel and pursuant to Rule 16(b)(4) of the Federal Rules of Civil

 4   Procedure and Civil Local Rules 6-2 and 7-12, hereby stipulate as follows:

 5          WHEREAS, on August 1, 2022, the Court entered its Order Granting Motion for Class

 6   Certification in the Direct Purchaser Actions (ECF No. 6042) (“Class Certification Order”);

 7          WHEREAS, Rule 23(c)(2)(B) requires “[f]or any class certified under Rule 23(b)(3) . . . the

 8   court must direct to class members the best notice that is practicable under the circumstances,

 9   including individual notice to all members who can be identified through reasonable effort”;

10          WHEREAS, on August 31, 2022, DPPs filed a Motion to Disseminate Notice of Direct

11   Purchaser Class Certification (ECF No. 6067) which Irico opposed in part (ECF No. 6071);

12          WHEREAS, on December 8, 2022, the Court issued an Order Granting in Part and Denying

13   in Part Motion to Disseminate Notice of Direct Purchaser Class Action Certification (ECF No.

14   6116) (“Class Notice Order”) in which the Court “decline[d] to grant DPPs’ request to include in

15   the class notice entities as to which no allegations have been made and about the inclusion of

16   which the parties do not agree”;

17          WHEREAS, the Parties have met and conferred in accordance with the Class Notice Order;

18          WHEREAS, on October 26, 2022, the Court’s Order re Trial Scheduling (ECF No. 6100)

19   adopted the Parties’ proposal to submit a joint (or competing) scheduling proposal for trial in the

20   Direct Purchaser Actions within fifteen (15) days after the Court issues a decision on DPPs’

21   Motion to Disseminate Notice of Direct Purchaser Class Certification; and

22          WHEREAS, the Parties’ joint (or competing) scheduling proposal will be informed by and

23   depend upon the timing of the dissemination of the forms of notice submitted herewith for the

24   Court’s approval;

25          IT IS HEREBY STIPULATED AND AGREED by and between counsel for DPPs and the

26   Irico Defendants as follows:

27          1.      Irico approves the form of the [Proposed] Order Approving Notice of Direct

28   Purchaser Class Certification submitted herewith (“Proposed Order”) containing the Notice
                                                     1
      STIPULATION AND [PROPOSED] ORDER RE: REVISED CLASS NOTICE AND LITIGATION SCHEDULE;
                                   Master File No. 07-CV-5944-JST
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 1   (Attachment A thereto) and Summary Notice (Attachment B thereto) revised in accordance with

 2   the Class Notice Order.

 3          2.      Good cause exists to modify the deadline for the Parties to file their joint (or

 4   competing) scheduling proposal for trial in the Direct Purchaser Actions.

 5          3.      The December 23, 2022 deadline set by the Court’s Order re Trial Scheduling (ECF

 6   No. 6100) for the Parties to file their joint (or competing) scheduling proposal is vacated.

 7          4.      The Parties shall submit a joint (or competing) scheduling proposal for trial in the

 8   Direct Purchaser Actions within fifteen (15) days after the entry of the Proposed Order, but no

 9   sooner than January 10, 2023, due to the upcoming holidays.

10          PURSUANT TO STIPULATION AND GOOD CAUSE APPEARING, IT IS SO

11   ORDERED.

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14   Dated: _____________________                          ________________________________
                                                           HONORABLE JON S. TIGAR
15                                                         UNITED STATES DISTRICT JUDGE
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      STIPULATION AND [PROPOSED] ORDER RE: REVISED CLASS NOTICE AND LITIGATION SCHEDULE;
                                   Master File No. 07-CV-5944-JST
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 1   Dated: December 19, 2022

 2
     /s/ R. Alexander Saveri                            /s/ John M. Taladay
 3   R. Alexander Saveri (173102)                       John M. Taladay (pro hac vice)
     Geoffrey C. Rushing (126910)                       Evan J. Werbel (pro hac vice)
 4   Matthew D. Heaphy (227224)                         Thomas E. Carter (pro hac vice)
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 9   Lead Counsel for Direct Purchaser Plaintiffs               drew.lucarelli@bakerbotts.com
10                                                      Attorneys for Defendants Irico Group Corp.
                                                        and Irico Display Devices Co., Ltd.
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      STIPULATION AND [PROPOSED] ORDER RE: REVISED CLASS NOTICE AND LITIGATION SCHEDULE;
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 1                                           ATTESTATION

 2          I, R. Alexander Saveri, hereby attest, pursuant to United States District Court, Northern

 3   District of California Civil Local Rule 5-1(h)(3), that each of the other Signatories have

 4   concurred in the filing of this document.

 5                                                 By:    /s/ R. Alexander Saveri
                                                          R. Alexander Saveri
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     STIPULATION AND [PROPOSED] ORDER RE: REVISED CLASS NOTICE AND LITIGATION SCHEDULE;
                                  Master File No. 07-CV-5944-JST
